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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: December 01, 2022.

                                                         ________________________________________
                                                                    MICHAEL M. PARKER
                                                            UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

                                                  §
   NEIL HESLIN, ET AL.,                           §
                                                  §
                   PLAINTIFFS,                    §
                                                  §
   V.                                             §         ADVERSARY NO. 22-06017-MMP
                                                  §
   ALEX E. JONES, ET AL.,                         §
                                                  §
                   DEFENDANTS.                    §

                                  ORDER TRANSFERRING VENUE

          The Court heard its Order to Appear and Show Cause (ECF No. 3), issued on November

   3, 2022, and determined that in the interest of justice and for the convenience of the parties

   pursuant to 28 U.S.C. § 1412, the Court will transfer this adversary proceeding to the “home”

   bankruptcy court, which serves as the jurisdictional basis for Defendant Free Speech Systems,

   LLC’s removal (In re Free Speech Systems LLC, Case No. 22-60043, pending in the U.S.
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   Bankruptcy Court for the Southern District of Texas (Houston Division) before the Honorable

   Christopher M. Lopez). It is, therefore,

           ORDERED that this adversary proceeding (Adv. No. 22-06017-mmp) is hereby

   TRANSFERRED to the United States Bankruptcy Court for the Southern District of Texas (Houston

   Division). It is further

           ORDERED that this adversary proceeding is related to Bankruptcy Case No. 22-60043,

   currently pending before the Honorable Christopher M. Lopez, United States Bankruptcy Judge.

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